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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

EUGENE SCALIA 1,                                     )
SECRETARY OF LABOR,                                  )
UNITED STATES DEPARTMENT OF LABOR,                   )
                                                     )
                              Plaintiff,             )
                                                     )
             V.                                      ) Civil Action No . 19-1824 (ROA)
                                                     )
EPIC HEAL TH SERVICES (DE), LLC, a limited liability )
company; APRIL MCCOLLEY, individually and as a       )
manager and director of the aforementioned company,  )
                                                     )
                              Defendants.            )
____________________                                 )

                                    CONSENT JUDGMENT

       Plaintiff, Eugene Scalia, Secretary of Labor, United States Department of Labor,

hereinafter referred to as "Plaintiff' or " the Secretary," has filed his Complaint alleging

violations of the Fair Labor Standards Act of 1938, 29 U.S .C. § 201 , et seq. (hereinafter "the

Act"). In order to amicably resolve the disputed issues of fact and law concerning this matter,

Defendants Epic Health Services (DE) LLC and April McColley (hereinafter "Defendants")

hereby agree to the terms and entry of this Consent Judgment. It is, therefore, upon motion of the

attorneys for Plaintiff and for cause shown:

       ORDERED, ADJUDGED, AND DECREED that Defendants, their officers, agents,

servants, and all persons acting or claiming to act on their behalf and interest be, and they hereby

are, permanently enjoined and restrained from violating the provisions of Sections 6, 7, 11 (c),

and 15 of the Act, in any manner, specifically:




1
 Eugene Scalia is substituted for former Acting Secretary of Labor Patrick Pizzella. Fed. R. Civ.
P. 25 (d).
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       1.     Defendants shall not, contrary to Section 7 of the Act, employ any of their

employees including, but not limited to , any of their employees working at 10 North Church

Avenue, Milford, DE 19963 , or at any business location owned, operated, and/or controlled by

Defendants, and at any other business location at which their employees perform work, in any

workweek when they are engaged in commerce or employed in an enterprise engaged in

commerce, within the meaning of the Act, for workweeks longer than the hours now, or which in

the future become, applicable under Sections 7 and 15(a)(2) of the Act, unless the said

employees receive compensation for their employment in excess of the prescribed hours at a rate

equivalent to one and one-half times the regular rates applicable to them.

       2.     Defendants shall not fail to compensate their employees for all hours worked

traveling between patients' homes during the workday.

       3.     Defendants shall not fail to make, keep, and preserve adequate records of their

employees and of the wages, hours, and other conditions and practices of employment

maintained by them including, but not limited to, any of their employees working at 10 North

Church Avenue, Milford, DE 19963, or at any business location owned, operated, and/or

controlled by Defendants, and at any other business location at which their employees perform

work, as prescribed by the Regulations issued pursuant to Section 1 l(c) and 15(a)(5) of the Act

and found at 29 C.F.R. Part 516.

       4.     Defendants shall not fail to keep and maintain accurate and complete employee

time records showing hours worked traveling between patients' homes during the workday.

Defendants shall not fail to keep and maintain accurate and complete employee records of

overtime hours worked and overtime premiums due, including for work performed traveling

between patients' homes during the workday.




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       5.      Defendants shall not discharge or take any retaliatory action against any of their

employees, whether or not directly employed by Defendants, because the employee engages in

any of the following activities pursuant to Section 15(a)(3) of the Act:

       a.      Discloses, or threatens to disclose, to a supervisor or to a public agency, any

       activity, policy, or practice of the Defendants or another employer, with whom there is a

       business relationship, that the employee reasonably believes is in violation of the Act, or

       a rule or regulation promulgated pursuant to the Act;

       b.      Provides information to, or testifies before, any public agency or entity

       conducting an investigation, hearing or inquiry into any alleged violation of the Act, or a

       rule or regulation promulgated pursuant to the Act, by the Defendants or another

       employer with whom there is a business relationship;

       c.      Objects to, or refuses to participate in any activity, policy or practice which the

       employee reasonably believes is in violation of the Act, or a rule or regulation

       promulgated pursuant to the Act.

       It is further ORDERED, ADJUDGED and DECREED by the Court that:

       6.      Defendants are enjoined and restrained from withholding gross back wages, less

applicable withholdings and deductions required by law, in the sum total amount $142,978.81,

and are jointly and severally liable for the payment of $142,978.81 in alleged liquidated

damages, due the employees and former employees of Defendants set forth and identified in

Schedule A, which is attached hereto and made a part hereof. Defendants will issue one check to

each individual listed on Schedule A for back wages and one check to each individual listed on

Schedule A for alleged liquidated damages.




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       7.      The provisions of this Consent Judgment relative to back wage and liquidated

damages payments shall be deemed satisfied when Defendants mail to the employees identified

in the attached Schedule A the aggregate amount of $285 ,957.62 (less withholdings and

deductions for back wages) to their last-known addresses within forty-five (45) days of the entry

of this Judgment by the Court. Defendants shall make payment directly to the identified

employees in accordance with the amounts listed in the Schedule A, and in accordance with the

following procedures:

            a. Within 45 days of the Court ' s entry of the Consent Judgment, Defendants shall

               pay and mail directly to the employees the amounts set forth in Schedule A,

               less the appropriate payroll withholdings and deductions for back wages.

               Defendants shall remain responsible for all tax payments considered to be the

               "employer' s share," including but not limited to the Federal Insurance

               Contributions Act (FICA) tax and Unemployment Insurance (UI) tax;

            b. Within 30 days of mailing the payments pursuant to Paragraph 8(a), Defendants

               shall furnish to the U.S. Department of Labor, Wage and Hour Division,

               Philadelphia District Office, 1617 John F Kennedy Blvd., Suite 1780

               Philadelphia, PA 19103, a list of all employees who have not been paid (due to

               missing address or otherwise). The list shall include the employee ' s last known

               address, social security number, and the attempts made to locate each person;

            c. Within 30 days of issuing and mailing payment to the employees, Defendants

               shall furnish to the U.S. Department of Labor, Wage and Hour Division,

               Philadelphia District Office, 1617 John F Kennedy Blvd., Suite 1780

               Philadelphia, PA 19103, payroll records demonstrating payment to the




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         employees. The payroll records will show the employee name, address, social

         security number (to the extent known), and the gross and net compensation

         amounts paid to each such employee. Furthermore, Defendants shall provide to

         the Wage and Hour District Office copies of each of the cancelled checks

         delivered to the employees no later than 10 days from Defendants' receipt of

         such information from their financial institution(s), or within 35 days of the

         entry of this Judgment by the Court, whichever comes later. The information

         maintained and provided by Defendants shall be sent to the Wage and Hour

         Division at the above address .

      d. If, for any reason (e.g. , because of inability to locate an employee or

         because of his/her refusal to accept it) Defendants is unable to make

         payment to any employee as required herein within 30 days after first

         mailing the checks, Defendants shall submit one aggregate payment by

         ACH transfer, credit card, or debit card at

         https://www. pay.gov/public/form/start/77689032, referencing Case

         Identification No. 1820603. Alternatively, payment may be made by

         certified check, bank check, or money order, payable to "Wage and Hour

         Division, U.S. Department of Labor," and mailed to the Northeast Regional

         Office, The Curtis Center, Suite 850 West, 170 S. Independence Mall

         West, Philadelphia, PA 19106-3 323. The check shall reference Case

         Identification No. 1820603 . Furthermore, Defendants shall provide to the

         Wage and Hour District Office a schedule identifying the name(s) and

         amount(s) due to the employee(s) to whom payments under this Consent




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               Judgment were not made, to the U.S. Department of Labor, Wage and Hour

               Division, Philadelphia District Office, 1617 John F Kennedy Blvd. , Suite

               1780 Philadelphia, PA 19103 . Defendants shall have up to 30 days

               following the 30-day expiration period prescribed by Paragraph 8(c) of this

               Consent Judgment to re-issue the aggregate payment to Wage and Hour.

            e. The Wage and Hour division will distribute the proceeds referred to in Paragraph

               8(d) to the persons identified on the Schedule A, or to their estates, if necessary.

               To the extent any amounts of unpaid compensation are not so paid within a

               period of 3 years from the date of receipt thereof, because of inability to locate

               the proper persons or because of their refusal to accept the back wages, such

               amounts shall be delivered into the Treasury of the United States as

               miscellaneous receipts pursuant to 29 U.S .C. 216(c).

       8.      Neither Defendants, nor anyone on their behalf shall directly or indirectly solicit

or accept the return or refusal of any sums paid under this Consent Judgment. Any such amount

shall be immediately paid to the Secretary for deposit as above, and Defendants shall have no

further obligations with respect to such returned monies.

       9.      The parties agree that the instant action is deemed to solely cover Defendants'

business and operations for the relevant period for all claims raised in the Complaint as a result

of the Secretary' s investigation. The parties agree that the filing of this action and the provisions

of this Judgment shall not, in any way, affect, determine, or prejudice any and all rights of any

person specifically named on Schedule A or the Secretary for any period after December 29,

2018, or any persons, be they current or former employees, not specifically named on Schedule




                                                  6
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A, insofar as such rights are conferred and reserved to said employees by reason of Section 16(6)

of the Act.

        10.   Defendants agree that Defendant Epic Health Services (DE) LLC is an employer

within the meaning of Section 3(d) of the Fair Labor Standards Act, 29 U.S.C. § 203(d).

        11.   It is FURTHER ORDERED, ADJUDGED AND DECREED that each party,

including Defendants, shall bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding including, but not limited to, attorney fees which

may be available under the Equal Access to Justice Act, as amended.

        12.   It is FURTHER ORDERED, ADJUDGED AND DECREED that this Action is

hereby dismissed.


                                             ~1:w~
                                             UNITED STATES DISTRICT JUDGE


Date: V-lhrv~   '1'    , 2020




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  Defendants hereby consent to the entry of this       For the Secretary:
  .luclgment.
                                                       Kate S. O'Sca1mlain
                 1t Epic T-foalth Services (DE) LLC:   Solicitor of Labor

                                                       Oscar L. Hampton III
                                                       Regional Solicitor
  Oni Ho    Brown
  VP- Deputy General Counsel/Chief Litigation
  Ot1icer

  Defendant April McColley:
                                                       ~?5~
                                                       Bnan P. Krier
                                                       Senior Trial Attorney
                                                       PA ID#~ 13826

                                                       U.S. Department of Labor
  April McC lley, individual                           Office of the Solicitor, Region Ill Suite
  manager of the aforementione                         630E, The Cmtis Center 170 S.
                                                       Independence Mall West Philadelphia,
                                                       PA 19106-3306
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                  CONSENT JUDGMENT - SCHEDULE A

   Name                           Overtime        Liquidated       Total
                                 Back Wages        Damages
   ABRAM, ETHEL ASHLEY L               $82.50          $82.50        $165.00
   AGUA YO, DOROTHY                   $345.00         $345.00        $690.00
   AIREY, KANDI A                     $724.84         $724.84      $1 ,449.68
   AMRHEIN, KIMBERLY                   $41.11          $41.11          $82.21
   APPIAH, ROSEMOND                 $4,630.56       $4,630.56      $9,261.12
   AYERS , CYNTHIA                     $18.91          $18.91          $37.82
   (SANCHEZ, CYNTHIA)
   BAKER, JESSICA                   $1 ,709.76      $1 ,709.76     $3,419.53
   BARNES, TAMMY                      $649.65         $649.65      $1 ,299.29
   BATSON, JUDY                         $76.50          $76.50       $153 .00
   BIVENS, PRECIOUS                   $891.48         $891.48      $1 ,782.97
   BLAKE, IESHA                         $24.75          $24.75         $49.50
   BOLDEN, QUINSHA                      $57.48          $57.48       $114.96
   BREWINGTON, DEMETRIA S               $78.00          $78 .00      $156.00
   BROWN, QUAMEL                        $21.38          $21.38         $42.76
   BUTLER, WARDELL                      $72 .86         $72 .86      $145 .72
   BYINGTON, WANDA LEE                $350.20         $350.20        $700.41
   CAMPBELL, CLERONA                $8,073 .30      $8,073 .30    $16,146.60
   CANNON, SHIRLRETHA D             $5 ,677 .25     $5 ,677 .25   $11 ,354.50
   CARROW, LAUREN 0                     $97 .50         $97.50       $195 .00
   CAZEAU, NICOLE                     $640.82         $640.82      $1 ,281 .64
   COLON, LUANNE                      $134.19         $134.19        $268.39
   CONTI, JENNIFER                    $905.19         $905.19      $1 ,810.38
   COWAN, KRYSTAL                       $30.01          $30.01         $60.01
   DARBY, TINA                      $7,199.63       $7,199.63     $14,399.26
   DEBROSSE, ALTAGRACE                $108.98         $108 .98       $217.96
   DICK, CHIAU L                    $1 ,068 .51     $1 ,068.51     $2,137.02
   EDWARDS , SIMICOLE M             $1 ,607.44      $1 ,607.44     $3 ,214.87
   FERGER, JACQUELINE                   $78.40          $78.40       $156.79
   GARRISON, TRIA M                 $6,337.51       $6,337.51     $12,675.01
   GONZALEZ, ANIAH                    $182.61         $182 .61       $365.22
   GREEN, CIARA                         $58 .35         $58.35       $116.70
   GROFF, PATRICIA                    $344.16         $344.16        $688 .33
   GROW, CHRISTINE L                  $171.89         $171.89        $343.78
   GW ANMESIA, EUNICE                 $563 .67        $563.67      $1 ,127.35
   HARMON, MONICA R                   $162.00         $162 .00       $324.00


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    Name                          Overtime        Liquidated       Total
                                 Back Wages        Damages
    HARRIS, MONIQUE                 $5 ,109.89      $5 ,109.89    $10,219.79
    HEARN, KELSEY                       $27.00          $27.00         $54.00
    HERNANDEZ, OLIVIA               $4,133.76       $4,133.76      $8,267.52
    HERNANDEZ, ROCHELLE               $455.56         $455 .56       $911.11
    HICKS , JESSICA D               $3 ,120.89      $3 ,120.89     $6,241.79
    HILEMAN, ARETHA J               $1 ,667.30      $1 ,667.30     $3 ,334.59
    HOOKS , CIERRA L                  $711.10         $711.10      $1,422.21
    HOPKINS , QUA YSHETT A              $27.00          $27.00         $54.00
    HUGGINS, ASHLEY N                 $157.57         $157.57        $315 .13
    HURD, SAMANTHA JO L             $1 ,195 .58     $1 ,195.58     $2,391.16
    HURD, VALERIE V                 $3 ,589.94      $3 ,589.94     $7,179.88
    JAIMES , ANGELA MARIA             $193 .88        $193 .88       $387.75
    JOHNSON, BOBBIE                   $406.34         $406.34        $812.68
    JOHNSON, CECELIA               $16,229.30      $16,229.30     $32,458.59
    JOHNSON, KENY ANTA A           $10,252.64      $10,252.64     $20,505.28
    JOHNSON, STACEY                     $35.25          $35.25         $70.50
    JONES , CORDRIN M               $1 ,677.91      $1 ,677 .91    $3,355.83
    JOYNES , CANDICE M              $4,294.90       $4,294.90      $8,589.79
    KADUK, BULBAN J                   $945.12         $945 .12     $1 ,890.24
    KERKULA, ELIZABETH S              $693 .00        $693.00      $1 ,386.00
    KERKULA-WILSON, GRACE             $261.42         $261.42        $522.85
    LIGON, DONNA                        $27.41          $27.41         $54.81
    LILLSTON, LAKEYA                  $345 .79        $345 .79       $691.57
    LOFLAND, CHRISTY N                  $73.15          $73.15       $146.30
    MAHAMMITT, INEZ ELAINE              $65.15          $65 .15      $130.31
    MARCELINE, YEFON                  $243 .00        $243 .00       $486.00
    MARSHALL, ANDREA A                  $36.78          $36.78         $73 .57
    MARSHALL, ANDREA L                $221.76         $221.76        $443 .51
    MCKAY, LUOPU                      $284.91         $284.91        $569.82
    MIDGETT, WILLIE MAE               $338.11         $338 .11       $676.22
    MILLER, KRYSTINA N                  $48.75          $48.75         $97.50
    MINGO, DONNA A                    $778.15         $778 .15     $1 ,556.29
    MIRADE ISLER, RONELL R          $2,806.79       $2,806.79      $5,613.58
    MOORE, ANITA                    $4,165 .92      $4,165 .92     $8,331.84
    MOSLEY, TONIA L                 $1 ,064.63      $1 ,064.63     $2,129.25
    MULLEN, TIFF ANY                    $85.99          $85 .99      $171.97
    PARKER, KATHEA                  $6,919.75       $6,919.75     $13 ,839.49
    PARKER, SHANITTA                    $62.42          $62.42       $124.83

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            Name                          Overtime        Liquidated        Total
                                         Back Wages        Damages
            PATRICE, MIREILLE                 $253.84         $253 .84        $507.67
            PEEK, CASSI L                     $680.39         $680.39       $1 ,360.78
            QUARRICK, KAYLA M               $2,554.78       $2,554.78       $5 ,109.57
            QUINONES, JEOV ANA                  $64.12          $64.12        $128 .25
            REED, CYNTHIA                     $716.80         $716.80       $1 ,433 .59
            RICHARDSON, BENJAMIN K          $1,056.60       $1 ,056.60      $2,113.21
            RYAN, ANNAT                         $78.81          $78 .81       $157.63
            SANTIAGO, KARITZA                   $61.69          $61.69        $123.38
            SCOTT, TAMMY                      $905.34         $905.34       $1 ,810.68
            SMACK, PARRIS                   $1 ,217 .84     $1 ,217.84      $2,435 .68
            SMITH, MARILYN                    $410.66         $410.66         $821.33
            SPENCE, APRIL L                   $797.25         $797.25       $1 ,594.51
            SPRY, SASHA N                       $46.99          $46.99          $93 .98
            TAYLOR, MARLENE                   $469.97         $469.97         $939.94
            THOMPSON, DWEDE W                   $39.07          $39.07          $78.14
            THOMPSON, KELLY K               $1 ,986 .98     $1 ,986.98      $3,973.96
            TIMMONS, ANN E                  $1 ,168 .39     $1 ,168.39      $2,336.78
            TITUS, WILLIANE                 $1 ,883.77      $1 ,883.77      $3 ,767.54
            WALSTON, GWENDOLYN              $2,426.21       $2,426.21       $4,852.42
            WARDY, THERESA                    $101.25         $101.25         $202.50
            WAYMAN, WAKINA                  $2,547.77       $2,547.77       $5 ,095.53
            WELLS-WAPLES , LATONY A           $200.34         $200.34         $400.68
            M
            WHITE, TYHEESHA M                    $99.38         $99.38        $198.75
            WILLIAMS , CHARLOTTE             $1 ,011.87     $1 ,011.87      $2,023 .74
            WILSON, TIFFANY N                  $148.07        $148.07         $296.14
            WINDER, NYJA S                   $2,738.54      $2,738.54       $5 ,477.09
            WOODRUFF, DESHIKA                $3 ,341.91     $3 ,341.91      $6,683.82
                                           $142,978.81    $142,978.81     $285,957.62




                       CONSENT JUDGMENT - SCHEDULE A - PAGE 3
